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IN THE UNITED STATES DISTRICT COURT JSC
FOR THE SOUTHERN DISTRICT OF FLORIDA OL
MIAMI DIVISION

JULIO DAVID ALFONSO,

 

Petitioner,
CRIMINAL ACTION NO: 00-1162-CR-Moore
vs.
CIV, ACTION NO:

3-200 75- Coy Mocte / Pref
11s 78

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SUPPLEMENTAL BRIEF IN SUPPORT OF
PETITIONER MOTION TO VACATE, SET ASIDE OR
CORRECT SENTENCE PURSUANT TO 28 U.S.C. §2255

 

UNITED STATES OF AMERICA,

Respondent.

 

 

COMES NOW the petitioner Julio David Alfonso, in propria
persona acting as his own counsel, files this Supplemental Brief
in Support of his Motion to Vacate, Set Aside, or Correct his

Sentence pursuant to his 28 U.S.C. §2255.

IN SUPPORT thereof, Petitioner states that this Honorable
Court has jurisdiction to entertain petitioner's supplemental

brief pursuant to the Fed.R.Civ.P., and under 28 U.S.C. §2255.

AS GROUNDS therefore, petitioner states that the grounds
raised herein are with merits, and that the Motion filed pursuant

to 28 U.S.C. §2255, is within the required time limitation.
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ISSUE - I

COUNSEL WAS INEFFECTIVE FOR FAILING TO
PRESERVE ISSUES THAT HAD MERITS FOR DIRECT APPEAL

 

Petitioner contends that trial and appellant counsel Louis
Casuso was ineffective for not preserving issues that were
with merits to perfect petitioner’ direct appeal.

Petitioner asserts that counsel's performance was so pervasively
defective in that counsel took virtually no action at all on .
petitioner's behalf despite the presence of a number of issues
that were clearly nonfrivolous appellant issues.

On October 31, 2001 counsel filed petitioner's direct
appeal raising only one sole issue that was frivolous regarding
a prior conviction that involved the petitioner being sentenced
as a Career Offender. Counsel argued that this Court erred
by finding that petitioner had two prior convictions for either
a crime of violence , or drug trafficking crime, as required
by 914B1.1(3). U.S.S.G. Counsel argued that petitioner's prior
Nevada conviction was a conviction for "Simple Possession."

Petitioner contends that counsel failed to properly investigate
the petitioner's prior Nevada conviction which clearly states,
that petitioner was charged with Trafficking in a Controlled
Substance.Petitioner contends that under Nevada Revised Statute
§453.3385, which defines Trafficking in a Controlled Substance
which provides that it is unlawful to knowingly or intentionally
sell, manufacture, deliver, or actually or constructively possess
a controlled substance.

If counsel would have properly investigated this issue,

counsel would have seen that the sole issue that counsel raised
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on Petitioner's direct appeal was a meritless issue due to the
fact that Petitioner's may have admitted to possession during
the plea colloguy, Petitioner pled guilty to Drug Trafficking.

It should also be noted that during trial Petitioner admitted
that he had been convicted of drug trafficking in the Nevada
case.

Petitioner contends that counsel only objected once during
tril, which alone is ineffective since counsel failed to preserve
any issues that could have been raised on direct appeal. Below
or just a few issues that could have been raised on direct,
but failure of counsel to properly investigate these issues
denied the petitioner his right to perfect a direct appeal.
ISSUES:

1. During Motion for New Trial counsel should have argured

that Count’s Two, Four, and Six should have been dismissed,

due to the fact that the indictment was defective on its face.

The indictment completely failed to allege an essential element

of the charged offense. Petitioner contends that by not identifying
the specific language of Title 18 U.S.C. §2 in counts, two,four,
and six, petitioner was not on notice that he was being charged
with Aiding and Abetting. It is common practice to attach Title

18 U.S.C. $2 to conspiracy charges, and substantive charges,

where an aider and abettor charge is an active element of the

case. Counsel was ineffective for failing to address the aforemention
issue in the district court, as well as on direct appeal.

2. Counsel could have and/or should have raised the issue
of entrapment. But this issue was never raised during trial.

3. Petitioner contends that he recived a Life sentence, counsel
should have raised the issue regarding Apprendi v. New Jersey,
530, U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000) Petitioner
contends that Apprendi was significance for him since counsel
could have demonstrated that count's one and two resulted in

his life sentence, did not have a jury determination of quantitly
of drugs, such as required under Apprendi.

 

4. Petitioner contends that he has filed a number of motion's
requesting that this court dismiss counsel of recored, and appoint
new counsel to perfect petitioner's direct appeal and with the
Eleventh Circuit Court of Appeal, and by dening the petitioner

new counsel ,-¢gumsél:was laboring under a conflict of interest.

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5. Counsel should have argued in direct petitioner's motion
to suppress recorded statements, that none of the post-arrest
statements should have been admissiable during trial.

Petitioner contends that the failure of his counsel to
raise arguable issues in the Appellant Brief creates a presumption
of prejudice. See, Pension, 488 U.S. at 86, 109 S.Ct. 346; Davis,
167 F.3d at 499-500.

As the Supreme Court explained in Pension, when counsel
raises no arguably appelabe issues, the Petitioner is "Completely
without representation during the appellate court's actual decision
process." 488 U.S. at 88, 109 S.Ct. 346.

Merely filing a no-merit brief similary leaves the Petitioner
without representaion on appeal. Thus, when counsel fails to
raise any arguable issues in the applelate brief it is "inappropriate
to apply either the prejudice requirement of “Strickland" or
the Harmless error analysis of Chapman v. State of Cal, 386

U.S. 18, 87 S.Ct. 824 17 L.Ed.2d 705 (1967),' Id. at 88-89,
109 S.Ct. 346. Also see, Lofton v. Whitley, 905 F.2d 885, 88/7-

 

88 (5th Cir.1990, presuming prejudice when counsel failed to
raise arguable issues in the appellant brief.

Petitioner asserts that his direct appeal contained only
a Page and a Half of argument which is no appeal at all, Petitioner
contends that if he had plead guilty to the charges then yes
this could be presentable, but Petitioner went to trial an the
sole issue that was raised in direct had nothing to do with
Petitioner's trial, Counsel only objected one time during trial
leaving petitioner nothing to argue during direct.

The Petitioner is entitled to effective assistance of counsel

in his direct appeal Evitts v. Lucey, 469 U.S. 387 (1985).
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In Heath v. Jones, 941 F.2d 1126, (11th Cir.1991) the court
held that appellate counsel's preformance was deficient. In
this case appeal counsel raised only one issue and the argument
occupied six pages.

As in the Petitiner's case counsel only raised one issue,
and the argument consisted of only a page and a half, and that
the argument did not have any merit to support the issue that
counsel raised,

Petitioner contends that counsel was ineffective by failing
to prefect an arguable appeal deinying the petitioner his right
under due process, of direct appeal.

If counsel would have at least gave effort to perfect his
direct appeal the outcome of Petitioner's appeal could have
be Vacated in light of the issues that Petitioner brought forth
within this argument, but by counsel failure to argure these
issues denied tha Petitioner effective assistance of appeallate
counsel.

WHEREFORE Petitioner prays that this argument be Vacated
and that this Honorable Court find that not only was trial

counsel ineffective but, appellate counsel also.
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ISSUE - II

COUNSEL WAS INEFFECTIVE FOR FAILING TO
ADDRESS THE ISSUE THAT BY NOT IDENTIFYING THE
SPECIFIC LANGUAGE OF TITLE 18 U.S.C. 2 THE PETITIONER
WAS NOT ON NOTICE THAT HE WAS ALSO BEING CHARGE WITH
AIDING AND ABETTING IN VIOLATION OF PETITIONER DUE PROCESS
RIGHTS UNDER THE FIFTH AND SIXTH AMENDMENTS OF THE
UNITED STATES.

The petitioner's indictment charged in Count-2 that petitioner
did knowingly and intentionally attempt to possess with intent
to distribute a Schedule II controlled substance, in violation
of Title 21 U.S.C. Section 841(a)(1), All in violation of Title
21 U.S.C. Section 846 and 841(b)(1)(A)(ii) and Title 18 U.S.C.
U.S.C. Section 2.

Count-4 did knowlingly unlawfully attempt to obstruct, delay

and effect commerce and the movement of articles and commodities,
by robbery, defined in Title 18 U.S.C. Section 1951(b), and

2.

Count-6 did knowingly use and carry firearms during and in relation
to a drug trafficking crime, and did knowingly possess firearms

in furtherance of a drug trafficking crime, in violation of

Title 18 U.S.C. Section 924(c)(1) and 2.

The above clearly states the statutory language of 841,1951
and 924(c)(1), but failes to state the statutory language of
Title 18 U.S.C. §2 which states:

(a) Whoever commits an offense against the United States or
aids, and abets, counsels, commands, induces or procures

its commission, is punishable as a principle.

(b) Whoever willfully causes an act to be done which if directly

performed by him or another would be an offense against
the United States, is punishable as a principle.

The indictment is defective on its face. In recent decisions
in the cases of United States v. DuBo, 97-10443, 1999 WL 595170

(August 10,1999).
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And in United States v. Neder, 119 S.Ct. 1827, 1841 (1999),

 

the Supreme Court, and the Fifth Circuit, determined that the
indictment must plead to specific statutory language in each
of the charges filed against the Petitioner. As such, there
is specific language in each statute that must be identified
to put a defendant on proper notice of what constitutes the
charge of the grand jury.

In Neder, the Supreme Court estblished materiality as an
essential element of mail fraud requiring that the specifics
of mail fraud be pled accordingly in an indictment. These are
two separate sections describing different acts and elements
of the offense charged.

In United ‘States v. DuBo, supra, the indictment completely

 

failed to allege an essential element of the charged offense.
The court stated this was not a minor technical flaw subject
to harmless error analysis, but a fatal flaw requiring dismissal
of the entire indictment.

The Fifth Circuit has held in United States v.Cabrera-~Terran,
168 F.3d 141, 143 (Sth Cir.1999), that the failure of the indictment
to charge each and every essential element of an offense is

a serious constitutional violation. See also United States v.

 

Morales-Rosales, 838 F.2d 1359, 1361-62 (5th Cir.1988), "that
criminal information...does not charge...the second element

of the offense...the failure of an information to charge an

offense is a jurisdictional defect that is not waived by guilty
plea. As such because the Petitioner's indictment fails to identify

essential elements of the charges brought against him, that
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same creates a defective indictment in violation of the Petitioner's
constitutional rights. This fatal flaw requires the dismissal
of the entire indictment. Title 18 U.S.C. §2 is a separate charge
requiring identification of its essential element in the indictment.
The failure to include the element of willfulness (or aiding
and abetting), by charging the Petitioner with violating 18
U.S.C. §2 renders an indictment constitutionally defective.
See United States v. Kurka, 818 F.2d 1427,1431 (9th Cir.1987).
It is not amenable to harmless error review. See United States
v. Spruill, 118 F.3d 221, 227 (4th Cir.1997). The failure to
charge an essential element of a crime is by no means a mere

technicaclity. See United States v. King, 587 F.2d 956, 963

 

(9th Cir.1978). Failure to plead with specificity all of the
charges against the defendant created a defective indictment
which failed to put the defendant on proper notice of the charges
against her. See also United States v. Pupo, 841 F.2d 1235 (4th
Cir.1988) cert. denied. 488 U.S. 842 (1988) (a defective indictment
could not be saved by reference to a particular statute. Here
the indictment failed to allege the words ‘knowing and intentionally’.
In Petitioner's case reference to 18 U.S.C. 2 is not enough.
The indictment fails to mention the words "aiding,abetting"™
(18 U.S.C.2(a)) or "Willful" (18 U.S.C.2(b)).
A vital function of an indictment is to provide "such description
of the particular act alleged to have been commited by the accused
as will enable him properly to defend against the accusation..."
This principle is derived directly from the Sixth Amendment's

guarantee of the right of an accused "to be informed of the

nature and cause of the accusation,

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Petitioner contends that this is basic to the proper functioning
of our adversary system of justice.

Without sufficient information to identify that conduct
which the grand jury has deemed adequate to support an indictment,
an accused is at a meterial disadvantage in meeting the charge

against him. See United States v. Tomasetta, 429 F.2d 978 (1st

 

Cir.1970) and United States v. Murphy, 762 F.2d 1151 (1st Cir.1985);

 

Federal Rules of Criminal Procedure 7(c)(1); and Russell v.

 

United States, 369 U.S. 749, 82 S.Ct.1038 (1962).

By not identifying the sepcific language of Title 18 U.S.C.2,
the Petitioner was not on notice that he was also being charged
with aiding and abetting. It is common pratice to attach Title
187 U.S.C. §2 to conspiracy charges, and substantive charges,
where an aider and abettor charge is an active element of the
case. However, the government's use of this is also without
tracking the language of the indictment and not putting the
Petitioner on notice that he is also being charged as an aider
and abettor.

WHEREFORE, the Petitioner claims that counsel was ineffective
for failing to address the aforememtioned issue in the District
Court, as well as on Direct Appeal, and thus has shown cause
and prejudice in that same violates his due process rights under

the Fifth and Sixth Amendment's of the United States Constitution.
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ISSUE - III

COUNSEL WAS INEFFECTIVE BY FAILING TO REQUEST
ENTRAPMENT INSTRUCTION

 

Petitioner contends that counsel should be rendered
ineffective by failing to request jury instruction on entrapment
defense.

It is clear in the case at bar that the Government illegally
enticed, induced and procuremented this case.

The allegation brought forth will show that the petitioner
was not only Illegally enticed, but was induced and procuremented
in committing the crime charged.

Petitioner contends that the whole operation was clearly
a set-up by Detective Wayne Peart and Agent Isidoro Martinez.

STATEMENT OF THE FACTS

 

Detective Wayne Peart contacted Martinez and advised Martinez
that he had a couple of individuals who were looking to conduct
a home invasion, and asked if Martinez would be willing to
do the undercover part of the investigation. Martinez agreed.

TAKE NOTICE’ the confidential source was only used one
time for the set-up for the meeting, after the introduction
to Martinez, Martinez states that he would be the only person
to have contact with the defendant from that point on.

On Page 164/Greene-Redirect, Mr. Casuso states, Judge,
the only thing I'm going to be asking for, it depends on what
kind of case they put on, would be entrapment.

The Court goes on to state, Okay. We should be prepared
to handle that in the event that you make that election.

Petitioner contends that trial counse did not make this
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election, that not only did this issue come to light during
petitioner trial, also see page 3 and 4 of the trial transcripts,
which states:

THE COURT: Are you confident that at the end of that testimony
that we will have put forth sufficient evidence
in the record from which a jury could find that

the defendant was entrapped?
MR.CASUSO: We will find out, Judge, I don't know.

THE COURT: All right. Because I want to make sure that at

least that we know up front before we get started.

Petitioner contends that the entrapment defense was never
brought to light during petitioner's trial, that attorney for
the petitioner never requested the trial judge to give instruction
on the entrapment defense.

In early December, 2000, a Miami-Dade Police Department
confidential source told officers that two individuals-later
identified as defendant's Alfonso and Enamorados were committing
armed robberies while posing as police officers and were interested
in committing a drug-related armed robbery. Miami-Dade officers
directed the source to introduce the defendants to an undercover
officer, who would pose as a disgruntled drug dealer interested
in arranging such a drug "ripoff" in order to obtain money
that his "boss" allegedly owed him.

Between December 7, and December 19, 2000, the undercover
officer spoke with both defendants several times on the telephone
and met with both defendants twice in person. All of these
calls and meetings were recorded. At the first meeting, the

undercover officer conveyed the story that his "boss" the son

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of his original employer owed him money from a drug deal and
had refused to pay. The undercover officer told the defendants
that the son expected to receive a shipment of 37-40 kilograms
of cocaine at the Port of Miami in the near future and that
the undercover's job was to retrive the cocaine and take it

to a stash house for safekeeping prior to distribution. The
undercover officer then told the defendants that he wanted

them to steal the cocaine from the occupied stash house, and

 

that the three of them could share the proceeds from the sale
of the cocaine.

On December 19, 2000, the undercover officer called the
defendants to tell them the cocaine had arrived and ask whether
the defendants were completely ready to commit the armed home
invasion. The defendants assured the undercover officer that
they were ready. The undercover officer then directed the defendants
to follow one of the undercover's officer - a confidential
source whom the defendants had previously met to a warehouse
office, at which time the undercover officer would call the
defendants with an address for the stash house.

Petitioner contends that during his direct on page 12
Mr. Casuso asked the petitioner how did you get to be here?
which petitioner responded that I am here because They Entrapped
Me, At this time Counsel should have requested that the Court
give the jury the entrapment defense instruction, but counsel
failed to request the issue.

It is clear that Officer Marinez was introduced to the
petitioner by a confidential source by the name of Nino, in

which petitioner did not know, that Enamorados took the petitioner

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in the house.

Nino told the petitioner that every thing was organized,
that there was not going to be any problems, that everything
was set, that Nino and Alex would not go because the owner
of the drugs knew them or could recognize them, and they needed
petitioner to go with Enamorados in order to get the drugs
without any kind of problems, and then Martinez himself would
buy the drugs.

Petitioner contends that at the time petitioner was working
for Artistic Decorator as an upholstere making around $8.25
hour. Petitioner contends that he was predisposed at the time
of the negociation, that El Nino and Enamorados got intouch
with petitioner, it was never petitioner intention to commit
this crime but by making only $8.25 hour, and by the government
and confidential source comming to him stating that he could
make up to $20,000 dollars by committing this crime was an
inducment that petitioner could not but should have trun down,
but the government made it sound very simple that there was
not going to be any problems, and that El Nino would supply
the guns, T-shirts, the ski mask, that Martinez told them to
wear the police shirts backwards so the word "Police" would
be bigger on front than the back.

It is clear to say that the government set this whole
operation up from begining to finish, that is was never the
petitioner intention to commit this crime, petitioner had a
reasonable job making $8.25 hour, the petitioner contends that
he was induced by not only a government confidential source

but by the government also to commit a crime as to where the

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petitioner would make alot of money. Petitioner contends that
counsel should have requested the the jury be given the entrapment
defense instruction for the mere fact that the petitioner was
entraped into making a decision in committing a crime that
the government invented.

The Petitioner should have been entitled to forgo the

instruction for strategic reasons, See United States v. Lopez

 

Andino, 831 F.2d 1164, 1171-72 (1st Cir.1987). In applying
Rule 31(c) this court stated if the petitioner was going to
raise the entrapment defense, It is clear that this Court seen
that this was clear that the petitioner may have been entraped
into this crime or the court would have not mention that the
defense could be entitled to this instruction.
Pursuant to Rule 31(c) the court could have properly given
the instruction even without a request and/or objection from
the defense, but neglected to address the constitutional implication

of this issue. In United States v. Williams, 197 F.3d 1091,1095,

 

(11th Cir. 1999)(finding error in court's failure to instruct
on supportable defense theory.").

Petitioner contends there is no way to really know beyond
a reasonable doubt what consideration the jury could have gave
if these instruction were presentend, but by counsel's failure
to request for the entrapment instruction denied the petitioner
a possiable defense that could have made a different outcome
in the verdict of the petitioner. A viollation of petitioner's
constitutional rights contrary to his due process and fair

trial guarantees embraced in the Fifth and Sixth Amendments.

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ISSUE - IV

COUNSEL WAS INEFFECTIVE BY FAILING TO
TO REQUEST THAT THE COURT GIVE PROPOSED
INSTRUCTION REQUIRING JURY TO ACQUIT PETITIONER
ON THE LAW THAT THE PETITIONER CANNOT CONSPIRE
WITH A GOVERNMENT AGENT ALONE.

Petitioner contends that counsel should have requested
that the Court give instruction requiring that the jury could
acquit the petitioner if the jury found that the petitioner
conspired with either a government agent and/or an informant
working for the government agent.

Petitioner asserts that he was charged with Count-one;
Conspiracy to possess with intent to distribute five kilograms
of cocaine.

By counsel's failure to request that the court give instructions
that a defendant cannot conspire with a government agent seriously
impaired his ability to present his defense since there was
a strong possibility that the jury convicted the petitioner
of conspiring with a government agent.

Petitioner contends that the only agreement that he had
was with a government agent , and a one time meeting with a
confidential informant working with the government to set-up
a meeting with an undercover Miami-Dade Police Detective posing
as a drug trafficker. The meeting with the C.I. was a one time
deal, that after the introduction to Officer Maritinez, the
petitioner would have no more contact with the C.I. from that
point on.

Martinez stated during trial that Detective Wayne Peart
planned a meeting where Martinez was going to be present per

se in the actual meeting. There was a confidential source which

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was going to meet with Julio Alfonso, and Marcos Enamorados,
in which they carried on a conversation and shortly thereafter,
Martinez placed a call to the C.I. via cellular telephone, at
which time the C.I. indicated it's him (Martinez) on the phone,
and at this time I engaged in a conversation with Marcos Enamorados,
and I believe it was also Julio Alfonso in that conversation.
Now, as far the plan for this investigation was concerned,
you were the only person to have contact with the defendants
from that point on? Martinez responded "Yes".
It is clear from the testimony of Marrinez that he was
the only one going to have contact with the defendant's, that
the C.I, was out of the picture.

Petitioner contends that he did not have an agreement with
any one other than the Government, and/or a Government informant.
ARGUMENT

Petitioner contends that had counsel requested that instruction

be given that a defendant cannot conspire with a government

agent or an informant working in undercover for: the government

to prove that he did not have an illegal agreement with anyone

other than a government agent, and the court would have possible
refused to give these instructions it would have constitute
reversible error, but by counsel's failure to request for the
instruction seriously impaired petitioner's ability to conduct

a reasonable defense.See; United States v. Camejo, 929 F.2d

 

610, 614 (11th Cir., ) cert, denied. 502 U.S. 880 112 S.Ct.228
116 L.Ed.2d 185 (1991), also see; United States v. Taylor, 997

 

F.2d 1551, 1558 (D.C. Cir.1993);United States v. Neal, 951 F.2d 630.

 

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It has been held that a defendant cannot be convicted for

conspiracy with a government agent. See, United States v.Chase,

 

372 F.2d 453, 459 (4th Cir.cert, denied. 387 US 907, 87 S.Ct.1688, .
18 L.Ed.2d 626 (1967).

Petitioner contends that the government engaged in outrageous
conduct in its handing of this operation. It is clear that the
petitioner had no intention of committing any crime, that Marcos
Enamorados met with the C.I. to set this operation into play,
the petitioner had no knowledge who the C.1I. (Nino) or any
other persons brought into play was, the only agreement that
was made in petitioner's behalf was with a government informant
or a government agent acting in an undercover status.

Petitioner contends that there was no evidence at trial
given to the fact that petitioner and Enamorados conspired with
each other to commit this crime, that the suppose conspiracy
consisted with only government agents or government informants.

WHEREFORE, petitioner contends that counsel should be rendered
ineffective by failure to request that this court give instruction
to the jury that petitioner cannot be charged with conspiracy,
if the conspiracy consisted of only an agreement with government
agents or a government informant, which impaired petitioner

ability for a proper defense.

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-ISSUE - V

COUNSEL WAS INEFFECTIVE BY FAILING TO
PROPERLY INVESTIGATE AND PRESERVE ISSUES FOR DIRECT APPEAL

Petitioner contends that prior to the filing of his direct
appeal petitioner requested that the Eleventh Circuit appoint
new counsel due to a conflict of interest between petitioner
and counsel.

Petitioner contends that counsel did not contact petitioner,
but within days of the filing of his direct appeal, that petitioner
was never given a copy of his direct appeal prior to the filing
in the Eleventh Circuit, nor did counsel talk over with the
petitioner as to any issues that he may feel that may have merits
to raise on direct.

Petitioner contends that he received the denial from counsel
Six (6) months after the decision from the Appellant Court,
never did once counsel even inform petitioner that the appeallant
court denied his direct appeal, nor did counsel inform petitioner
that he had the right to file for Writ of Cert, to the Supreme
Court.

Petitioner also contends due to the fact that counsel didn't
forward the decision until Six (6) months later, petitioner
only had six (6) months in order to prepair his 28 U.S.C. §2255
motion, without being time barred.

Furthermore, Petitioner contends that at the time of filing

his direct the case of Apprendi v. New Jersey,530 U.S. 466,

 

120 S.Ct. 2348, 147 L.Ed.2d 435 (2000) had come to law which
had counsel informed the petitioner on Apprendi it could have

been an important issue that could have been raised in direct

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Petitioner contends that Apprendi has significance for
him since he believes that he can demonstrate that the two counts
1 and 2 which carry the statutory maxium of life and which resulted
in his life sentence, did not have a jury determination of quantity
of drugs, such as required under Apprendi.

In Sanchez v. United States, 242 F.3d 1294 (11th Cir.2001)
rehearing en banc, 2001 WL 1242087 (11th Cir. Oct. 17, 2001),

the court found:

While under Apprendi the allowable maximum sentence
for a §841 violation may diifer depending on how drug
quantity was handled at the plea, trial, or sentencing
phases, and on the timeliness of an Apprendi-based
objection.

The en banc majority ruled that Rogers was correct

in holding that a sentence greater than the statutory
maximum violates Apprendi unless drug quantity was
charged in the indictment, submitted to-a jury, and
proven beyond a reasonable doubt.n./7.

As a point of fact the Petitioner believes that the drug
quantities were not found by a jury beyond a reasonable doubt.
Therefore, under Sanchez en banc n.8. there should have
been an application of §841(b)(1)(C) rather than §841(b)(1)(A) (ii)
on counts 1 and 2.

Thus the majority en banc opinion expressly limited
Rogers' analysis and conclusion about Apprendi "to
those §841 cases where the defendant's sentence is

both (1) directly effected by a judge-made finding

of drug quantity under either §841(b)(1)(A), or §841(b)
(1)(B), and (20 as a direct result of that drug quantity
finding actually exceeds the statutory maximum otherwise
permissible under §841(b)(1)(C).

Petitioner contends that he was prejudice by the attorney

not bringing up the Apprendi issue in his direct appeal, especially,

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since it appears that such issues being brought up post direct
appeal seem to be limited in the 11th circuit as to the relief

granted. See; McCoy v. United States, Case No: 00-16434 (11th.Cir..

 

decided Sept.25,2001) in which McCoy, because he couldn't show
cause for his failure to raise the issue on direct appeal procedurally
barred from raising it after. n.10.

Petitioner asserts that counsel should be rendered ineffective
for the mere fact he failed to properly investigate any other
issues that could have been raised to perfect his direct appeal,
or raised during sentencing. that counsel's failure to investigate

is ineffective, See Brownlee v. Haley, No: 00-15858 (11th Cir.

 

September 16, 2002), the court Reversed and Remanded a death
penalty conviction due to counsel's failure to investigate the
facts for sentencing purposes.

Failure to prepare at sentencing strikes at the heart of
the Sixth Amendment Right to Effective Assisatance of Counsel
as required under Strickland.

WHEREFORE; due to counsel's failure to properly investigate
Apprendi issue petitioner should not be barred from raising
this issue now, that had counsel investigated this issue it
could have come to light that petitioner would have met the
criteria of Apprendi. by counsel failure to investigate the
issue either prior to trial and as a sentencing factor was prejudice
to the petitioner dening him his right to effective assistance

of counsel within the meaning of Strickland, and Sixth Amendment.

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CONCLUSION

This court should readily address the merits of the petitioners
claims and hold an evidentiary hearing to resolve the errors
that have occurred in the above style cause, all being fundamental
and/or jurisdictional errors.

The petitioner request an evidentiary hearing to resolve
these matters as a fundamental miscarriage of justice, that
affects the fundamental fairness of the proceedings and the

court. See, United States v. Addonizio, 442 U.S. 178, 185,

 

99 S.Ct. 2235, 2240, 60 L.Ed.2d 805 (1979).
Wherefore, the petitioner is entitled to relief in reference
to the claims presentend to this court, or an evidentiary hearing

should be held without hast.

Respectfully submitted

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CERTIFICATE OF SERVICE

I hereby certify that the foregoing Supplemental Brief
in Support of my 28 U.S.C. §2255 was forwarded by U.S. Mail

postage prepaid to the below following listed.

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Acknowledged on this the // day of April 2003.

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

JULIO DAVID ALFONSO,

Petitioner,

vs.

UNITED STATES OF AMERICA,

Respondent.

 

SUPPLEMENTAL BRIEF IN SUPPORT OF
PETITIONER'S MOTION TO VACATE, SET ASIDE OR
CORRECT SENTENCE PURSUANT TO 28 U.S.C. §2255

 

CRIMINAL ACTION NUMBER 00-1162-CR-MOORE
CIVIL ACTION NUMBER

 

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